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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:
                                                          Chapter 11
                                      1
 Lordstown Motors Corp, et al.,
                                                          Case No. 23-10831 (MFW)
                           Debtors.
                                                          (Jointly Administered)

                                                          Re: Docket No. 970



     CERTIFICATION OF NO OBJECTION REGARDING SIXTH MONTHLY FEE
     APPLICATION OF BAKER & HOSTETLER LLP, AS SPECIAL LITIGATION
      AND CORPORATE COUNSEL FOR THE DEBTORS, FOR ALLOWANCE
             OF COMPENSATION FOR SERVICES RENDERED AND
        REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
              DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023

          The undersigned hereby certifies that, as of the date hereof, they have received no answer,

objection, or other responsive pleading with respect to the sixth monthly fee application for

compensation and reimbursement of expenses (the “Monthly Application”) of Baker & Hostetler

LLP (“Applicant”) listed on Exhibit A attached hereto. The Monthly Application was filed with

the United States Bankruptcy Court for the District of Delaware (the “Court”) on February 13,

2024. The undersigned further certifies that they have reviewed the Court’s docket in this case and

no answer, objection or other responsive pleading to the Monthly Application appears thereon.

Pursuant to the Notice of Fee Application filed with the Monthly Application, objections to the

Monthly Application were to be filed and served no later than March 4, 2024 at 4:00 p.m. (ET).

The Monthly Application was filed and served in accordance with the Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Chapter 11



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           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Professionals and Committee Members, entered July 25, 2023 [D.I. 181] (the “Interim

Compensation Order”).

       Consequently, pursuant to the Interim Compensation Order, the debtors and debtors in

possession in the above-captioned cases are authorized to pay Applicant eighty percent (80%) of

the fees and one hundred percent (100%) of the expenses requested in the Monthly Application

upon the filing of this certification without the need for a further order of the Court. A summary

of the fees and expenses sought by Applicant is annexed hereto as Exhibit A.

Dated: March 7, 2024
Wilmington, Delaware

Respectfully submitted,

 /s/ Morgan L. Patterson
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                              Debtors in Possession




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                                                                           EXHIBIT A

                                                                Professional Fees and Expenses
                                                                   Monthly Fee Application

       Applicant            Fee Application          Total Fees         Total             Objection          Amount of Amount of                       Amount of
                             Period, Filing          Requested        Expenses            Deadline:             Fees      Expenses                    Holdback Fees
                               Date, D.I.                             Requested                              Authorized Authorized                     Requested
                                                                                                             to be Paid to be Paid at
                                                                                                              @ 80%         100%
       Baker &             12/1/23 – 12/31/23 $74,442.15 2              $38.38              3/4/24           $59,553.72    $38.38                      $14,888.43
     Hostetler LLP              D.I. 970




2
    Baker & Hostetler reduced the amount requested by $8,271.35 as a result of courtesy discounts that been applied consistent with past practices.



WBD (US) 4865-7021-2779v1
